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                        UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF SOUTH CAROLINA

In Re:                                   )    CASE NO. 20-00662-jw
                                         )
Watertech Holdings, LLC,                 )    CHAPTER 11
                                         )
                      Debtor.            )
                                         )

      LIMITED OBJECTION OF COLETTE WINTERS TO DEBTOR’S MOTION FOR
      ORDER AUTHORIZING THE SALE OF ASSETS OF THE DEBTOR FREE AND
       CLEAR OF LIENS, CLAIMS, ENCUMBRANCES, AND OTHER INTERESTS
                        PURSUANT TO 11 U.S.C. § 363

         COMES NOW Colette Winters, in her individual capacity and as guardian for her

children (“Winters”), by and through her undersigned counsel, and files this limited

objection (the “Limited Objection”) to Watertech Holdings, LLC’s (“Debtor”) Motion for

Order Authorizing the Sale of Assets of the Debtor Free and Clear of Liens, Claims,

Encumbrances, and Other Interests Pursuant to 11 U.S.C. § 363 (the “Sale Motion”) (Doc.

6).    The hearing on the Sale Motion is currently scheduled for April 1, 2020, with

responses due March 23, 2020. On March 23, 2020, the Debtor filed a motion (Doc. 37)

to continue the hearing on the Sale Motion to April 15, 2020 and to extend the response

deadline to April 6, 2020, to which Winters has consented.

         Winters hereby files this Limited Objection in an abundance of caution and as a

prophylactic measure to preserve her concerns regarding the proposed bid procedures

and sale terms. Winters reserves her right to file a further or supplemental objection upon

review of the proposed bid procedures and sale terms.
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                             NELSON MULLINS RILEY & SCARBOROUGH L.L.P.

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                             Attorneys for Collette Winters
Columbia, South Carolina
March 23, 2020




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                               CERTIFICATE OF SERVICE

       I the undersigned administrative assistant with the law offices of Nelson Mullins

Riley & Scarborough LLP, attorneys for Collette Winters, do hereby certify that I have

served all parties in this action with a copy of the pleading(s) hereinbelow specified by

either mailing a copy of the same by United States Mail, postage prepaid, or electronic

service through the court's CM/ECF case filing system to the following:

Pleadings:                  Limited Objection of Colette Winters to Debtor’s Motion for
                            Order Authorizing the Sale of Assets of the Debtor Free and
                            Clear of Liens, Claims, Encumbrances, and Other Interests
                            Pursuant to 11 U.S.C. § 363

Parties Served:             Watertech Holdings, LLC
                            Attn: Bob Fei
                            4360 Corporate Road, Suite 100
                            North Charleston, SC 29405

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                            William Harrison Penn
                            McCarthy, Reynolds & Penn, LLC
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                            U.S. Trustee’s Office
                            1835 Assembly St., Suite 953
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                                                 /s/Joan A. Kishline
                                                 Joan A. Kishline
Columbia, South Carolina
       23
March _____, 2020



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